 Case: 1:19-cv-00071-SNLJ Doc. #: 59 Filed: 03/03/21 Page: 1 of 2 PageID #: 806




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

 ROBIN MESEY, et al.,                          )
                                               )
                                               )
             Plaintiffs,                       )
                                               )
       vs.                                     )   Case No. 1:19-cv-71 SNLJ
                                               )
 CITY OF VAN BUREN, MO., et al.,               )
                                               )
             Defendants.                       )
                                               )

                              MEMORANDUM and ORDER

       This matter is before the Court on plaintiffs’ motion to for a third extension of time

in which to respond to defendant’s motion for summary judgment. Defendant City of Van

Buren opposes the motion because this Court previously advised that no further extensions

would be given. Plaintiffs originally sought an extension through March 9, but they later

amended the motion seeking an extension to March 1. Plaintiffs’ reason for seeking the

extension were the press of other business, health complications suffered by plaintiffs’

attorney, and historically bad weather. Counsel was physically unable to get to his office

due to snow and ice, and below-zero temperatures triggered orthopedic problems. In light

of the extraordinary circumstances, and the fact that the response memorandum has now

been filed, the Court will grant the motion and accept the late-filed memorandum.




                                              1
Case: 1:19-cv-00071-SNLJ Doc. #: 59 Filed: 03/03/21 Page: 2 of 2 PageID #: 807




     Accordingly,

     IT IS HEREBY ORDERED that plaintiffs’ motion for extension [#48] is

GRANTED.


     Dated this   3rd day of March, 2021.




                                                STEPHEN N. LIMBAUGH, JR.
                                                SENIOR UNITED STATES DISTRICT JUDGE




                                            2
